        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 1 of 19




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DARLENE BAUMANN, TOBY HOY                      :
 and ROBIN TAYLOR on behalf of                  : CIVIL ACTION FILE NO.
 themselves and others similarly                :
 situated,                                      :
                                                :
       Plaintiffs,                              : COMPLAINT – CLASS ACTION
                                                :
 v.                                             :
                                                : JURY TRIAL DEMANDED
 AMERISAVE MORTGAGE                             :
 CORPORATION,                                   :
                                                :
       Defendant.                               :
                                            /

      Plaintiffs Darlene Baumann, Toby Hoy, Robin Taylor (hereinafter referred

to as “Plaintiffs”), individually and on behalf of all others similarly situated,

alleges on personal knowledge, investigation of their counsel, and on information

and belief, as follows:


                               NATURE OF ACTION

      1.     This case involves a campaign by AmeriSave Mortgage Corporation

(“AmeriSave”) to market its products and services through the use of telemarketing

calls and pre-recorded messages in plain violation of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”).
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 2 of 19




      2.     On June 12, 2008, the Federal Communications Commission (“FCC”

or “Commission”) issued a citation to AmeriSave for violations of the TCPA,

admonishing AmeriSave that “[i]f, after receipt of this citation, you or your

company violate the Communications Act or the Commission's rules in any

manner described herein, the Commission may impose monetary forfeitures not to

exceed $11,000 for each such violation or each day of a continuing violation.”

      3.     Notwithstanding these prior violations of the TCPA and the FCC’s

citation, AmeriSave used a software program to transmit thousands of calls to

Plaintiffs and proposed Class Members for the purposes of marketing its financial

products.

      4.     Moreover, AmeriSave sent messages to cellular telephone numbers

that are registered on the National Do Not Call List (hereafter “NDNC”), which is

a separate and additional violation of the TCPA. The recipients of AmeriSave’s

illegal text messages, which include Plaintiffs Darlene Baumann and Robin Taylor,

and the proposed classes, are entitled to damages under the TCPA.

                                     PARTIES

      5.     Plaintiffs Darlene Baumann (“Baumann”), Toby Hoy (“Hoy”), Robin

Taylor (“Taylor”) are all natural individuals.




                                          2
           Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 3 of 19




        6.     Defendant AmeriSave Mortgage Corporation is a corporation

 incorporated under the laws of the State of Georgia, with its principal place of

 business at 3525 Piedmont Road NE, 8 Piedmont Center - Suite 600, Atlanta, GA

 30305.

                           JURISDICTION AND VENUE

      7.       The Court has subject matter jurisdiction pursuant to the Class Action

Fairness Act of 2005 (“hereinafter referred to as CAFA”) codified as 28 U.S.C.

1332(d)(2). The matter in controversy exceeds $5,000,000, in the aggregate,

exclusive of interest and costs, as each member of the proposed Class of thousands

is entitled to up to $1,500.00 in statutory damages for each call that has violated the

TCPA. Further, Plaintiffs allege a national class, which will result in at least one

Class member from a different state.

      8.       This Court also has federal question jurisdiction pursuant to 28 U.S.C.

§ 1331 and 47 U.S.C. § 227 et seq.

      9.       This Court has personal jurisdiction over AmeriSave because the

company is incorporated and headquartered in the state of Georgia. The

telemarketing messages that are the subject of this case were created and sent by

AmeriSave.




                                            3
            Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 4 of 19




      10.       Venue is proper in the United States District Court for the Northern

District of Georgia because defendants are deemed to reside in any judicial district in

which they are subject to personal jurisdiction at the time the action is commenced,

and because AmeriSave is incorporated and headquartered in Georgia.

                                 TCPA Background

 Calls Made Using a Pre-Recorded Message

        11.     The TCPA makes it unlawful “to make any call (other than a call

 made for emergency purposes or made with the prior express consent of the called

 party) using an artificial or prerecorded voice … to any telephone number assigned

 to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii).

        12.     Specifically, the TCPA prohibits the use of an automated telephone

 dialing system to make any telemarketing call or send any telemarketing text

 message to a wireless number in the absence of an emergency or the prior express

 written consent of the called party. See 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. §

 64.1200(a)(2); In the Matter of Rules & Regulations Implementing the Tel.

 Consumer Prot. Act of 1991, 27 F.C.C. Rcd. 1830, 1831 (F.C.C. 2012).

        13.     “[T]elemarketing means the initiation of a telephone call or message

 for the purpose of encouraging the purchase or rental of, or investment in,




                                            4
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 5 of 19




property, goods, or services, which is transmitted to any person.” 47 C.F.R. §

64.1200(f)(12).

      14.    “[P]rior express written consent means an agreement, in writing,

bearing the signature of the person called that clearly authorizes the seller to

deliver or cause to be delivered to the person called advertisements or

telemarketing messages using an automatic telephone dialing system or an

artificial or prerecorded voice, and the telephone number to which the signatory

authorizes such advertisements or telemarketing messages to be delivered.”

47 C.F.R. § 64.1200(f)(8).

      15.    Under the TCPA, the burden is on the seller – here, AmeriSave – to

have obtained and documented, and to prove, prior express written consent.

The National Do Not Call Registry

      16.    The National Do Not Call Registry allows consumers to register their

telephone numbers and thereby indicate their desire not to receive telephone

solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).

      17.    A listing on the Registry “must be honored indefinitely, or until the

registration is cancelled by the consumer or the telephone number is removed by

the database administrator.” Id.




                                           5
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 6 of 19




      18.    The TCPA and implementing regulations prohibit the initiation of

telephone solicitations to residential telephone subscribers to the Registry and

provides a private right of action against any entity that makes those calls, or “on

whose behalf” such calls are promoted. 47 U.S.C. § 227(c)(5); 47 C.F.R.

§ 64.1200(c)(2).



                           FACTUAL ALLEGATIONS

      19.    Plaintiffs Darlene Baumann, Toby Hoy, Robin Taylor are not, and

have never been, a customer of Defendant AmeriSave.

      20.    At no point have Plaintiffs sought out or solicited information

regarding Defendant AmeriSave’s products or services.

Plaintiff Baumann

      21.    Plaintiff Baumann’s telephone number, (713) XXX-8597, is

registered to a cellular telephone service.

      22.    Plaintiff Baumann’s number is a personal number used for household

purposes.

      23.    Plaintiff Baumann’s number is not associated with any businesses.

      24.    Plaintiff Baumann’s number has been on the National Do Not Call

Registry since December 7, 2017.


                                              6
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 7 of 19




      25.    Three times on August 3, and twice on August 4, 2021, Plaintiff

Baumann received a pre-recorded call from AmeriSave.

      26.    The pre-recorded message stated, in part, “this is AmeriSave. If you

want to reduce your interest rate, please press…”.

      27.    Plaintiff Baumann was not interested, and she terminated the call.

      28.    The Caller ID for the calls were (713) 913-7380, (713) 913-7381,

(713) 588-0972, (713) 574-7715 and (713) 568-8644.

      29.    A return call to this number identifies AmeriSave as the caller.

Plaintiff Hoy

      30.    Plaintiff Hoy’s telephone number, (515) XXX-0280, is registered to a

cellular telephone service.

      31.    On January 19, 20, 21 and 22, 2021, Plaintiff Hoy received pre-

recorded calls from AmeriSave.

      32.    The pre-recorded message stated, in part, “this is AmeriSave. If you

want to reduce your interest rate, please press…”.

      33.    Plaintiff Hoy was not interested, and he terminated the call.

      34.    The Caller ID for the calls were 515-505-7291 and 515-218-9048.

      35.    Return calls to these numbers identify AmeriSave as the caller.




                                          7
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 8 of 19




Plaintiff Taylor

      36.    Plaintiff Taylor’s telephone number, (941) XXX-6358, is registered to

a cellular telephone service.

      37.    Plaintiff Taylor’s number is a personal number used for household

purposes.

      38.    Plaintiff Taylor’s number is not associated with any businesses.

      39.    Plaintiff Taylor’s number has been on the National Do Not Call

Registry since January 9, 2009.

      40.    On April 23, May 6, 7, 10, 2021, Plaintiff Taylor received pre-

recorded calls.

      41.    The pre-recorded message stated, in part, “this is AmeriSave. If you

want to reduce your interest rate, please press…”.

      42.    Plaintiff Taylor was not interested, and he terminated the call.

      43.    The Caller ID for the calls were (941) 234-9003, (941) 234-9195,

(941) 234-9017 and (941) 234-9011.

      44.    Return calls to these numbers identify AmeriSave as the caller.

                       CLASS ACTION ALLEGATIONS

      45.    The Plaintiffs incorporate by reference all other paragraphs of this

Complaint as if fully stated herein.


                                          8
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 9 of 19




      46.   Plaintiffs bring this action on behalf of themselves and the following

classes (the “Classes”) pursuant to Federal Rule of Civil Procedure 23.

      47.   Plaintiffs propose the following Class definitions, subject to

amendment as appropriate:

      Pre-Record Call Class: All persons in the United States who, since
      January 1, 2020 until the class is certified, received one or more pre-
      recorded calls on their cellular telephone from or on behalf of
      AmeriSave Mortgage Corporation.

      National Do Not Call Registry Class: All persons in the United States
      whose telephone numbers were on the National Do Not Call Registry,
      but who received more than one telephone solicitation telemarketing
      call from or on behalf of AmeriSave Mortgage Corporation with a 12-
      month period, since January 1, 2020 until the class is certified.

      48.   All of the Plaintiffs are members of the Pre-Recorded Call Class.

      49.   Plaintiffs Taylor and Baumann are members of the National Do Not

Call Registry Class.

      50.   Plaintiffs and all members of the Classes have been harmed by the acts

of the Defendant, including, but not limited to, the invasion of their privacy,

annoyance, waste of time, the use of their cell phone battery, and the intrusion on

their cellular telephone that occupied it from receiving legitimate communications.

      51.   This Class Action Complaint seeks injunctive relief and money

damages.



                                         9
          Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 10 of 19




         52.   The Classes as defined above are identifiable through the Defendant’s

dialer records, other phone records, and phone number databases.

         53.   Plaintiffs do not know the exact number of members in the Classes,

but Plaintiffs reasonably believe Class members number, at minimum, in the

hundreds in each class.

         54.   The joinder of all Class members is impracticable due to the size and

relatively modest value of each individual claim.

         55.   Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits.

         56.   There are well defined, nearly identical, questions of law and fact

affecting all parties. The questions of law and fact, referred to above, involving the

class claims predominate over questions which may affect individual Class

members.

         57.   There are numerous questions of law and fact common to Plaintiffs

and to the proposed Classes, including but not limited to the following:

               (a) whether Defendant utilized a pre-recorded message to send calls to
                   the members of the Pre-Recorded Call Class;

               (b) whether Defendant systematically made multiple telephone calls to
                   members of the National Do Not Call Registry Class;


                                           10
       Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 11 of 19




             (c) whether Defendant made calls to Plaintiffs and members of the
                 Classes without first obtaining prior express written consent to
                 make the calls;

             (d) whether Defendant’s conduct constitutes a violation of the TCPA;
                 and

             (e) whether members of the Classes are entitled to treble damages
                 based on the willfulness of Defendant’s conduct.

      58.    Further, Plaintiffs will fairly and adequately represent and protect the

interests of the Classes. Plaintiffs have no interests which are antagonistic to any

member of the Classes.

      59.    Plaintiffs have retained counsel with substantial experience in

prosecuting complex litigation and class actions, and especially TCPA class

actions. Plaintiffs and their counsel are committed to vigorously prosecuting this

action on behalf of the other members of the Classes, and have the financial

resources to do so.

      60.    Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.



                                         11
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 12 of 19




      61.     The likelihood that individual members of the Classes will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.

                         FIRST CAUSE OF ACTION
        Statutory Violations of the Telephone Consumer Protection Act
                            (47 U.S.C. 227, et seq.)
                    on behalf of the Pre-Recorded Call Class

      62.     Plaintiffs incorporate by reference the foregoing allegations as if fully

set forth herein.

      63.     AmeriSave violated the TCPA by sending, or causing to be sent via an

agent, pre-recorded messages to the cellular telephones of Plaintiffs and members

of the Pre-Recorded Call Class without their prior express written consent.

      64.     As a result of the Defendant’s violations of 47 U.S.C. § 227 et seq.,

Plaintiffs and Pre-Recorded Call Class members are entitled to an award of $500 in

statutory damages for each and every violation of the statute, pursuant to 47 U.S.C.

§ 227(b)(3)(B).

      65.     Plaintiffs and Pre-Recorded Call Class members are also entitled to

and do seek injunctive relief prohibiting the Defendant from advertising their

goods or services, except for emergency purposes, using a pre-recorded voice in

the future.



                                          12
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 13 of 19




                    SECOND CAUSE OF ACTION
Knowing and/or Willful Violation of the Telephone Consumer Protection Act
                         (47 U.S.C. 227, et seq.)
                on behalf of the Pre-Recorded Call Class

      66.     Plaintiffs incorporate by reference the foregoing allegations as if fully

set forth herein.

      67.     AmeriSave violated the TCPA by sending, or causing to be sent via an

agent, pre-recorded calls to the cellular telephones of Plaintiffs and members of the

Pre-Recorded Call Class.

      68.     As a result of the Defendant’s knowing and/or willful violations of 47

U.S.C. § 227 et seq., Plaintiffs and each member of the Pre-Recorded Call Class is

entitled to treble damages of $1,500 for each and every violation of the statute,

pursuant to 47 U.S.C. § 227(b)(3).

      69.     Plaintiffs and Pre-Recorded Call Class members are also entitled to

and do seek injunctive relief prohibiting the Defendant from advertising their

goods or services, except for emergency purposes, using a pre-recorded voice in

the future.




                                          13
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 14 of 19




                           THIRD CAUSE OF ACTION
               Violation of the Telephone Consumer Protection Act
                (47 U.S.C. 227, et seq. and 47 C.F.R. §§ 64.1200(d))
               on behalf of the National Do Not Call Registry Class

       70.    Plaintiffs Taylor and Baumann incorporate by reference the foregoing

allegations as if fully set forth herein.

       71.    AmeriSave violated the TCPA and the Regulations by making, or

having its agent make, two or more telemarketing text messages within a 12-month

period on AmeriSave’s behalf to Plaintiff and the members of the National Do Not

Call Registry Class while those persons’ phone numbers were registered on the

National Do Not Call Registry.

       72.    As a result of the Defendant’s violations of 47 U.S.C. § 227 et seq.,

Plaintiffs Taylor and Baumann and National Do Not Call Registry Class members

are entitled to an award of up to $500 in statutory damages for each and every

violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       73.    Plaintiffs Taylor and Baumann and National Do Not Call Registry

Class members are also entitled to and do seek injunctive relief prohibiting the

Defendants from advertising their goods or services, except for emergency

purposes, to any number on the National Do Not Call Registry in the future.




                                            14
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 15 of 19




                    FOURTH CAUSE OF ACTION
Knowing and/or Willful Violation of the Telephone Consumer Protection Act
           (47 U.S.C. 227, et seq. and 47 C.F.R. §§ 64.1200(d))
          on behalf of the National Do Not Call Registry Class

       74.    Plaintiffs Taylor and Baumann incorporate by reference the foregoing

allegations as if fully set forth herein.

       75.    AmeriSave knowingly and/or willingly violated the TCPA and the

Regulations by making, or having its agent make, two or more telemarketing calls

within a 12-month period on AmeriSave’s behalf to Plaintiffs Taylor and Baumann

and the members of the National Do Not Call Registry Class while those persons’

phone numbers were registered on the National Do Not Call Registry.

       76.    As a result of the Defendant’s knowing and/or willful violations of 47

U.S.C. § 227 et seq., Plaintiffs Taylor and Baumann and each member of the

National Do Not Call Registry Class is entitled to treble damages of up to $1,500

for each and every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

       77.    Plaintiffs Taylor and Baumann and National Do Not Call Registry

Class members are also entitled to and do seek injunctive relief prohibiting the

Defendant from advertising their goods or services, except for emergency

purposes, to any number on the National Do Not Call Registry in the future.




                                            15
        Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 16 of 19




                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of the Classes, pray

for the following relief:

      A.     Injunctive relief prohibiting Defendant from calling telephone

numbers advertising their goods or services, except for emergency purposes, to any

number on the National Do Not Call Registry or to any cellular telephone numbers

using a prerecorded voice in the future;

      B.     As a result of the Defendant’s willful and/or knowing violations of 47

U.S.C. § 227(b)(1), Plaintiffs seek for themselves and each Pre-Recorded Call

Class member treble damages, as provided by statute, of $1,500 for each and every

violation of the TCPA;

      C.     As a result of Defendant’s statutory violations of 47 U.S.C.

§ 227(b)(1), Plaintiffs seek for themselves and each Pre-Recorded Call Class

member $500 in statutory damages for each and every violation of the TCPA;

      D.     As a result of the Defendant’s willful and/or knowing violations of 47

C.F.R. § 64.1200(d), Plaintiffs Taylor and Baumann seek for themselves and each

member of the National Do Not Call Registry Class treble damages, as provided by

statute, of up to $1,500 for each and every violation of the TCPA;




                                           16
       Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 17 of 19




      E.     As a result of Defendant’s statutory violations of 47 C.F.R. §

64.1200(d), Plaintiffs Taylor and Baumann seek for themselves and each member

of the National Do Not Call Registry Class up to $500 in statutory damages for

each and every violation of the TCPA;

      F.     An award of attorneys’ fees and costs to counsel for Plaintiffs and the

Classes as permitted by law;

      G.     An order certifying this action to be a proper class action pursuant to

Federal Rule of Civil Procedure 23, establishing the appropriate Classes the Court

deems appropriate, finding that Plaintiffs are proper representatives of the Pre-

Record Call Class and that Plaintiffs Baumann and Taylor are proper

representatives of the National Do Not Call Registry Class, and appointing the

lawyers and law firms representing Plaintiffs as counsel for the Classes;

      H.     Such other relief as the Court deems just and proper.


                                 JURY DEMAND

      Plaintiffs request a jury trial as to all claims of the complaint so triable.




                                          17
      Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 18 of 19




Dated: November 12, 2021    PLAINTIFFS, on behalf of themselves
                            and others similarly situated,

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                                    18
       Case 1:21-cv-04696-TWT Document 1 Filed 11/12/21 Page 19 of 19




       CERTIFICATE OF COMPLIANCE WITH L.R. 5.1.C & 7.1.D

      Pursuant to L.R. 7.1.D, I certify that this document has been prepared with

14-point, Times New Roman font, approved by the Court in L.R. 5.1.C.


                                       /s/ Steven H. Koval
                                      Steven H. Koval




                                        19
